                                                                          Summary of Date Commissions Were Payable By Project

KEY: X denotes the commission spreadsheet started at 100% or went from 0% to 100%



                                            Date Commission                      Date Commission
                                               Spreadsheet         Source           Spreadsheet         Source
      Job Name              Job No.                                                                                                                                        Notes
                                           Reflects Job Is Over   Document      Reflects Job Is 100%   Document
                                             50% Completed                            Complete


MEN-DAY             11MEN-001                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEN-CHE             12MEN-002                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEN-SPR             12MEN-005                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEN-CED             12MEN-008                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEN-STP             12MEN-012                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEN-LIV             12MEN-016                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEN-CHY             12MEN-018                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEN-EVE             12MEN-019                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEN-MAN             12MEN-021                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO ROC             13KROG-003                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEN-CHE Pond        13MEN-WAR (CHES)                X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO FAM             14KROG-007                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO STE             14KROG-017                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEN-JAM             14MEN-001                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO SAN             15KROG-002                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO ROS             15KROG-003                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO ROS FIRE        15KROG-003F                     X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO ROC RAIL        15KROG-003P                     X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO WL              15KROG-006                  9/30/2017           Ex. 69           12/8/2017           Ex. 70      Project became eligible for monthly commissions on 9/30/2017 and final commission was due on 12/8/2017.
KRO STE FC          15KROG-007                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO FIS             15KROG-018                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO FIS MISC        15KROG-018P                     X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO FRA             15KROG-022                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO BOW FIRE        15KROG-025F                     X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO BOW             15KROG-25                   9/30/2017           Ex. 69            4/4/2018           Ex. 71      Project became eligible for monthly commissions on 9/30/2017 and final commission was due on 4/4/2018.
Indy South          15MEN-001                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
Indy East           15MEN-003                   9/30/2017           Ex. 69           9/30/2018           Ex. 73      Project became eligible for monthly commissions on 9/30/2017 and final commission was due on 9/30/2018.
B-SHOPS PH1         16GEN-064                       X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO IND             16KROG-006                  9/30/2017           Ex. 69           10/31/2018        Ex. 74, p.1   Project became eligible for monthly commissions on 9/30/2017 and final commission was due on 10/31/2018.
KRO JEF             16KROG-010                   4/4/2018           Ex. 71           5/27/2020         Ex. 77, p.1   Project became eligible for monthly commissions on 4/4/2018 and final commission was due on 5/27/2020.
KRO FLU FC          16KROG-015                   4/4/2018           Ex. 71           9/30/2018         Ex. 73, p.1   Project became eligible for monthly commissions on 4/4/2018 and final commission was due on 9/30/2018.
KRO APP             16KROG-019                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.

                                                                                                                     Project became eligible for monthly commissions on 4/4/2018 and final commission was due on 7/26/2021. **Note
KRO WLAF            16KROG-021                   4/4/2018           Ex. 71           7/26/2021         Ex. 79, p.3   this went down from 100% to 96.91% on 9/30/2020, then back up to 100% on 7/26/2021
KRO FRA CLST        17KROG-001                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
GRAFTON ECR         17KROG-004                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MEQUON ECR          17KROG-005                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
MKE ECR             17KROG-007                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
GLENDALE ECR        17KROG-008                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
SHOREWOOD ECR       17KROG-009                      X                 X              9/30/2017           Ex. 69      Project was elligible for commission upon termination on 8/21/17.
KRO MUN             17KROG-035                  9/30/2018         Ex. 73, p.2        5/27/2020         Ex. 77, p.1   Project became eligible for monthly commissions on 9/30/2018 and final commission was due on 5/27/2020.
TFM ROS 217         17TFM-002                       X                 X              12/8/2017           Ex. 70      Commission on this project was due 12/8/2017.
TFM DUN 043         17TFM-003                       X                 X              12/8/2017           Ex. 70      Commission on this project was due 12/8/2017.




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TFM ASH 003      17TFM-005          X            X         12/8/2017      Ex. 70      Commission on this project was due 12/8/2017.
TFM ATH 155      17TFM-006          X            X         12/8/2017      Ex. 70      Commission on this project was due 12/8/2017.
TFM PVB 025      17TFM-007          X            X         12/8/2017      Ex. 70      Commission on this project was due 12/8/2017.
TFM MAN 026      17TFM-008          X            X         12/8/2017      Ex. 70      Commission on this project was due 12/8/2017.
TFM ASH 189      17TFM-009          X            X         12/8/2017      Ex. 70      Commission on this project was due 12/8/2017.
TFM SUW 068      17TFM-010          X            X         12/8/2017      Ex. 70      Commission on this project was due 12/8/2017.
TFM PTC 128      17TFM-011          X            X         12/8/2017      Ex. 70      Commission on this project was due 12/8/2017.
TFM UP 103       17TFM-012          X            X          4/4/2018      Ex. 71      Commission on this project was due 4/4/2018.
TFM WEL 073      17TFM-013          X            X          4/4/2018      Ex. 71      Commission on this project was due 4/4/2018.
TFM VB 115       17TFM-014          X            X          4/4/2018      Ex. 71      Commission on this project was due 4/4/2018.
KRO SAN Repair   18KROG-006         X            X         10/31/2018   Ex. 74, p.1   Commission on this project was due 10/31/2018.
MEN WH BURLGTN   18MEN-002      12/31/2018   Ex. 75, p.2   5/27/2020    Ex. 77, p.2   Project became eligible for monthly commissions on 12/31/2018 and final commission was due on 5/27/2020.
MEN WH Racine    18MEN-001       5/27/2020   Ex. 77, p.3   9/30/2020    Ex. 78, p.2   Project became eligible for monthly commissions on 5/27/2020 and final commission was due on 9/30/2020.
MEN WH CHE       18MEN-016       5/27/2020   Ex. 77, p.3   9/30/2020    Ex. 78, p.2   Project became eligible for monthly commissions on 5/27/2020 and final commission was due on 9/30/2020.
MEN RAC II       18MEN-023       5/27/2020   Ex. 77, p.3   9/30/2020    Ex. 78, p.2   Project became eligible for monthly commissions on 5/27/2020 and final commission was due on 9/30/2020.




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